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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                        No. CR-14-00554-001-PHX-SRB
10                  Plaintiff,                        ORDER
11   v.
12   John Keith Hoover,
13                  Defendant.
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            Pending before the Court is the Government’s Motion for Final Approval to
16
17   Disburse Proceeds from Sale of Parcel 225-66-063 (Doc. 435). The Court had previously
18   granted the Government’s motion to allow the receiver to sell this parcel. The sale of the
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     parcel has now closed, and the Government asks the Court to approve distribution of the
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21   sale proceeds in accordance with the closing statement of the escrow company attached as

22   Exhibit 1 to the Motion.
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            There are two items that require further information before distribution of the
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     proceeds will be approved. The receiver, who is also the listing agent for the parcel,
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26   requests a 20% commission on the gross proceeds of sale. The reasonableness of a 20%
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     commission must be justified. The Court notes that the receiver is both the seller and
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     buyer’s broker on this sale.
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 1         The second item is the amount of attorneys' fees to be paid to the attorneys who the
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     Court assumes represented the purchaser of the tax lien from the Mohave County
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     Treasurer. The reasonableness of these fees will have to be shown to the Court before the
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 5   $7,433.84 requested is authorized to be paid out of escrow.
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           Dated this 15th day of July, 2022.
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